            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION


 UNITED STATES OF AMERICA,

             Plaintiff,

 vs.                                               Case No. 21-mj-00091-JAR-1

 RICHARD KUHNS,

             Defendant.


                          MOTION TO DISMISS COMPLAINT

       Under 18 U.S.C. § 3161(b), the government has 30 days from the date of arrest

in which to file an indictment. By its own admission, the government has failed to

meet that deadline here. For the reasons discussed below, the case should be

dismissed.

       1.      Richard Kuhns was arrested on a criminal complaint on August 23,

2021. (Doc. 9).

       2.      Under 18 U.S.C. § 3161(b), the government had 30 days from that date

during which to file an indictment. To comply with that statute, the indictment must

have been filed by September 22, 2021.

       3.      To date, no indictment has been filed against Mr. Kuhns.

       4.      The government has sought an extension of the indictment deadline,

which is an admission that the deadline to indict has lapsed. (Doc. 16).
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       5.      According to the statute, one permissible reason for failure to indict

within the 30-day timeframe involves a situation where no grand jury sits within the

district during the applicable time frame. See 18 U.S.C. § 3161(b). As the government

concedes, that is not the situation here.

       6.      Additional permissible reasons for delay are set out in 18 U.S.C. §

3161(h). None of those reasons exist here despite the government’s contention that

the ends of justice are served by a continuance.

       7.      The government’s arguments are inconsistent. The government

contends that it could not indict Mr. Kuhns within the statutory period because it

needed additional “time to prepare the matter for full consideration by a grand

jury….” (Doc. 16 at p. 2). At the same time, the government states that “the matter

was scheduled for presentation to a grand jury . . . on September 16, 2021 . . . .” (Id.).

       8.      These conflicting statements are a post hoc attempt to turn a scheduling

difficulty into a legitimate reason for delay. In reality, as the government admits, the

grand jury was unable to indict on the scheduled day due to lack of a court reporter.

       9.      Again, Mr. Kuhns has been in custody following arrest on a complaint

since August 23, 2021. The government had ample time to seek indictment during the

30-day time period. That it was unable to do so on the particular date it selected due

to transcription issues is immaterial.

       10.     Mr. Kuhns’s right to due process as codified by 18 U.S.C. § 3161(a) has

been violated.
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      11.     In this circumstance, the remedy is determined with reference to 18

U.S.C. § 3162(a)(1). That remedy is dismissal.

      WHEREFORE, Richard Kuhns respectfully requests that the Court dismiss

the complaint and direct his immediate release from custody.

                                        Respectfully submitted,

                                        /s/ Marc Ermine
                                        Marc Ermine
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                          CERTIFICATE OF SERVICE

       It is CERTIFIED the foregoing was electronically filed on this 27th day of

 September, 2021, and that a copy was e-mailed to all parties pursuant to the ECF

 system.

                                        /s/ Marc Ermine
                                        Marc Ermine




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